   EXHIBIT 1

(Filed Under Seal)
                                                              Haddon, Morgan and Foreman, P.C.
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July 29, 2016


VIA EMAIL

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Re: Conferral on Discovery Issues
    Giuffre v. Maxwell, No. 15-cv-07433-RWS (S.D.N.Y.)

Dear Counsel:

This letter is a follow-up to our conferral on July 26, 2016.

Regarding plaintiff’s RFP 12, we are supplementing with the following based
on your letter of June 8, 2016. The RFP requires defendant to “produce all
documents concerning Virginia Giuffre (a/k/a Virginia Roberts), whether or
not they reference her by name. This request includes, but is not limited to, all
communications, diaries, journals, calendars, blog posts (whether published or
not), notes (handwritten or not), memoranda, mobile phone agreements, wire
transfer receipts, or any other document that concerns Plaintiff in any way,
whether or not they reference her by name.” Plaintiff is asking defendant to
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Paul Cassell
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produce any document that “concern[s]” plaintiff, “whether or not [the
document] reference[s] her by name.” As we pointed out in our response, this
RFP is overbroad. Its overbreadth would be difficult to exaggerate. Of the many
thousands of documents in this case, which ones would not “concern[]” the
plaintiff in this case?

In your June 8 letter, apparently acknowledging the overbreadth of the RFP,
you suggest the defendant could respond by conducting an electronic search for
plaintiff’s various names—searching all documents in defendant’s possession.
Setting aside that this is not what the RFP asked for, that too would entail an
extraordinary and unreasonable amount of time and money, since plaintiff’s
various names are guaranteed to have thousands of hits, and someone would
have to review every hit to determine, e.g., whether the document previously
was provided to you, whether the document is not subject to production
because of privilege, or whether it was a false hit. What would be the purpose of
such an enormous expenditure of time and money? You have not said, but it
appears fairly obvious that this is fishing with a drift net. We decline your
request to engage in this exercise.

Regarding redacted police reports that plaintiff designated “confidential”: We
objected to plaintiff’s confidentiality designation, and plaintiff failed to file a
motion in accordance with the Protective Order to maintain the confidentiality
of the reports. Accordingly, the reports are not confidential under the
Protective Order.

Very truly yours,




Ty Gee

C: David Boies; Bradley J. Edwards
